Case 2:21-cv-04920-WLH-ADS    Document 436-1       Filed 08/30/24   Page 1 of 2 Page
                                  ID #:10689
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   6                                                Defendant David Tassillo
   7

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  10                      UNITED STATES DISTRICT COURT
  11                    CENTRAL DISTRICT OF CALIFORNIA
  12   SERENA FLEITES,
  13                           Plaintiff,             Case No. 2:21-cv-4920
                   v.
  14                                                  [PROPOSED] ORDER
       MINDGEEK S.A.R.L. a foreign entity;            GRANTING ANTOON AND
  15   MG FREESITES, LTD., a foreign entity;          TASSILLO’S MOTION TO
       MINDGEEK USA INCORPORATED, a                   DISMISS THE SECOND
  16   Delaware corporation; MG PREMIUM               AMENDED COMPLAINT
       LTD, a foreign entity; MG GLOBAL
  17   ENTERTAINMENT INC., a Delaware
       corporation; 9219-1568 QUEBEC, INC.,           Hearing Date: November 22,
  18   foreign entity; BERND BERGMAIR, a              2024
       foreign individual; FERAS ANTOON, a            Courtroom: 9B
  19   foreign individual; DAVID TASSILLO, a          Judge: Hon. Wesley L. Hsu
       foreign individual; VISA INC., a Delaware
  20   corporation; REDWOOD MASTER                    Complaint Filed: June 17, 2021
       FUND, LTD, a foreign entity; MANUEL
  21   2018, LLC, a Delaware corporation,             Trial Date: None Set
       GINGOGERUM, LLC, a Delaware
  22   corporation; WHITE-HATHAWAY
       OPPORTUNITY FUND, LLC, A
  23   Delaware corporation; COLBECK
       CAPITAL MANAGEMENT, LLC, a
  24   Delaware Corporation; CB AGENCY
       SERVICES, LLC, A Delaware
  25   corporation; and CB PARTICIPATIONS
       SPV, LLC, a Delaware corporation
  26
                               Defendants.
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        [PROPOSED] ORDER GRANTING ANTOON AND TASSILLO’S MOTION
               TO DISMISS THE SECOND AMENDED COMPLAINT
                           CASE NO. 2:21-cv-4920
Case 2:21-cv-04920-WLH-ADS     Document 436-1    Filed 08/30/24   Page 2 of 2 Page
                                   ID #:10690



   1         Defendants Feras Antoon and David Tassillo’s Motion to Dismiss the
   2   Second Amended Complaint pursuant to Federal Rules of Civil Procedure
   3   12(b)(2), 12(b)(6) and 9(b) (“Antoon and Tassillo’s Motion to Dismiss”) came
   4   before this Court for hearing on November 22, 2024. Having considered the
   5   papers and arguments of counsel submitted in connection with Antoon and
   6   Tassillo’s Motion to Dismiss, and finding good cause appearing, IT IS HEREBY
   7   ORDERED THAT:
   8         Antoon and Tassillo’s Motion to Dismiss is GRANTED; and
   9         Plaintiff’s claims against Antoon and Tassillo are DISMISSED WITHOUT
  10   LEAVE TO AMEND for failure to establish personal jurisdiction and, in the
  11   alternative, DISMISSED WITH PREJUDICE for failure to state a claim.
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  13   IT IS SO ORDERED
  14   Dated: _______________                     ________________________
  15                                              Hon. Wesley L. Hsu
  16                                              United States District Judge
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        [PROPOSED] ORDER GRANTING ANTOON AND TASSILLO’S MOTION
               TO DISMISS THE SECOND AMENDED COMPLAINT
                           CASE NO. 2:21-cv-4920
